Case 1:19-cv-11058-NLH-KMW Document 22 Filed 01/15/20 Page 1 of 2 PageID: 442




                    UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  DAVID BEASLEY

          Plaintiff                      Civil Action No. 1:19~cv-11058

         V                                   NOTICE OF APPEAL

  WILLIAM HOWARD

             Defendant
  Clerk U.S. District Court

   U.S. Courthouse 4th and Cooper Sts.

   Camden, NJ 08101

  Honorable Noel L. Hillman, USDJ

  Honorable Karen M. Williams USMJ



     PLEASE TAK~ NOTICE: Notice is hereby given for the appeal to the U.S. Court of
  Appeals for the Third Circuit. Appeal from the Order entered to grant defendant's
  motion to dismiss and deny plaintiff's motions to vacate and summary
  judgement. The order entered in this action on the 9th day of January 2020.



                                             /s/    f)--a,,N /3~-=:
                                                David Beasley Plaintiff Pro-Se

  January 14, 2020
Case 1:19-cv-11058-NLH-KMW Document 22 Filed 01/15/20 Page 2 of 2 PageID: 443




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                      CERTIFICATION OF SERVICE

 I do hereby certify that I have delivered a copy of the Notice of
 Appeal to all of the listed parties and courtesy copy to
 Honorable Judge Noel L. Hillman USDJ and Honorable Judge
 Karen M. Williams USMJ.

                                       Civil Action No. 1:19-cv-11058
 Clerk United States District Court

 US Courthouse 4th and Cooper Sts.

 Camden, NJ 08101



 Frank Natoli

 Natoli-Legal LLC

 305 Broadway, 7th Floor

 New York, New York   1oor,7
 On Behalf of Defendant




                                          David Beasley Plaintiff Pro-Se

 January 14, 2020
